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| Tu
Name _ McIntosh, Ronald J. _ VES hy,
(Last) (First) (initial) E-filing LOY.
Prisoner Number 2053-085 .

 

Mailing Address P-0. Box 8000; Marianna, FL 32447-8000

 

 

~ UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

RONALD J. McINTOSH, ) CRy

 

(Enter the full name of plaintiff in this action.) ) ~
)
vs. 1 ) Case No.”
CY 0) prove provided by Ogcler@ of
ERIC H. HOLDER, JR., — .
| PETITION FOR A WRIT’
ATTORNEY GENERAL, U.S. of A., OF HABEAS CORPUS

 

ATTORREY GENERAL

 

STATE OF CALIFORNIA,
(Enter the full name of respondent(s) or jailor in this action)

 

 

 

 

 

Read Comments Carefully Before Filling In
When and Where to File .

You should fi le in the Northern District if you were convicted and sentenced in one. of these

counties: Alameda, Contra Costa, Del Norte, Humboldt, Lake, Marin, Mendocino, Monterey, Napa,

‘San Benito, Santa Clara, Santa Cruz, San Francisco, San Mateo and Sonoma. You should also file in

this district if you are challenging the manner in which your sentence is being executed, such as Joss of
good time credits, and you are confined in one of these counties. Habeas L.R. 2254-3(a).

If you are challenging your conviction or sentence and you were not convicted and sentenced in

| one of the above-named fifteen counties, your petition will likely be transferred to the United States

District Court for the district in which the state court that convicted and sentenced you is located. If
you are challenging the execution of your sentence and you are not in prison in one of these counties,
your petition will likely be transferred to the district court for the district that includes the institution
where you are confined. Habeas L.R. 2254-3(b). | .

PET. FOR WRIT OF HAB. corpus . -T-

 

 

 
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Case 3:09-cv-00750-CRB Document1 Filed 02/19/09 Page 2 of 14

Who to Name as Respondent

~ You must name the person in whose actual custody you are. This usually means the Warden or
jailor. Do not name the State of California, a city, a county or the superior court of the county in which
you are imprisoned or by whom you were convicted and sentenced. These are not proper

respondents.

If you are not presently in custody pursuant to the state judgment against which you seek relief

| but may be subject to such custody in the future (c.g., detainers), you must name the person in whose

custody you are now and the Attorney General of the state in-which the judgment you seek to attack

was entered.
A. INFORMATION ABOUT YOUR CONVICTION AND SENTENCE:
1. What sentence are you challenging in this petition?

(a2) | Namé and location of court that imposed sentence (for example; Alameda

 

 

County Superior Court, Oakland):
San Mateo County Superior Court Redwood City, California
Court Location

(b) Case number, if known __ SC-23606A

. b. 20,1991 .
(c) Date and terms of sentence ifs. w/o possibili ty of parole

(4) Are you now in custody serving this term? (Custody means being in jail, on
parole or probation, etc.) Yes__y No
Where?

 

Federal Bureau of Prisons

Name of Institution: __ WITSEC
HOLC Building, Room. 524:
Address: _320 First Street, NW

Washington, DC 20534
_2, For what crime were you given this sentence? df your petition challenges a sentence for

‘more than one crime, list each crime separately using Penal Code numbers if known. If you are:

challenging more than one sentence, you should file a different petition for each sentence.)
Count 1) CPC § 187 with Spec. Circ. CPC § 190.2 - First Degree Murder
Count 2) CPC § 182 Conspiracy to Murder

 

 

 

 

 

 
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“Case 3:09-cv-00750-CRB Document 1 Filed 02/19/09 Page 3 of 14
3. Did you have any of the following?
Arraignment: | Yes _X.  No___
Preliminary Hearing: Yes X No__
Motion to Suppress: © Yes_x_. . ~No___
4. How did you plead? |
Guilty____ Not Guilty_x_ Nolo Contendere _
Any other plea (specify) N/A
5. If you went to trial, what kind of tial did you have?
Jury__X Judge alone Judge alone on a transcript__—_
6. Did you testify at your trial? Yes X_ No_
7. Did you have an attomey at the following proceedings:
(a) Arraignment Yes X No
(b) _. Preliminary hearing Yes X = No___
(c) Time of plea Yes XxX No_
(d) Trial Yes % = = No___
(ce) — Sentencing YesX%  No__
(f) Appeal - Yes X  No__
(g} Other post-conviction proceeding Yess NOX
8. Did-you appeal your conviction? Yes_x  jNo___
(a) If you did, to what court(s) did you appeal?
Court of Appeal Yes X= No.
Year: 1991 ‘Result; Affiirmed
Supreme Court of California . Yes x No
‘Year: 1992 Result__cert Denied
Any other court Yes _ ss No___X
Year. N/A Results___N/A
(b) If you appealed, were the grounds the same as those that you are raising in this

PET. FOR WRIT OF HAB. CORPU

 

  

 

 
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petition? oe -  Yes_ No X__

(c) Was there an opinion? © . - Yes NoX _
(d) Did you seek permission to file a late appeal under Rule 31(a)?

oe Yes __ Nox

If you did, give the name of the court and the result:

 

N/A

 

9. Other than appeals, have you previously filed any’petitions, applications or motions with respect to

this conviction in any court, state or federal? - Yes _* No

 

[Note: If you previously filed a petition-for a wiit of habeas corpus in federal court that
challenged the same-conviction you are challenging now and if that petition was denied or dismissed -
with prejudice, you must first file a motion in the United States Court of Appeals for the Ninth Circuit

for an order authorizing the district court to consider this petition, You may not file a second or

subsequent federal habeas petition without first obtaining such an order from the Ninth Circuit. 28
U.S.C. §§ 2244(b).] 7
(a) If you sought relief in any proceeding other than an appeal, answer the following
questions for each proceeding. Attach extra paper if you need more space.
lL Name of Court: San Mateo Superior Court
Type of Proceeding: _ Habeas: Corpus

Grounds raised (Bé brief but specific): Same as being raised herein.

a. Government Suppressed Exulpatory Evidence

b. Subornation of Perjury

c. Witness Tampering

d. Perjury, Vouching for Wintesses, & Known use of Perjury
e. Prosecutor used Conflicting Theories

f. Found Guilty by a Preponderance of the Evidence

g. Hearsay Statements (Evidence)

h. Juror Misconduct

i. Insufficient Evidence to Connect to Conspiracy

PET. FORAVRIT OF HAB. CORPUS -4-—

 

 
Case 3:09-cv-00750-CRB Document1 Filed 02/19/09 Page 5 of 14

 

 

 

 

 

 

 

 

 

 

 

-] - j- Ineffective Assistance of Defense Counsel
2- Ineffective Assistance of Appellant Counsel
3 Had Suppressed Evidence Been Available out-come would
. have been different (not guilty)
4 m, Cumulative Error
5] n. Newly Discovered Evidence Requires an Evidentary Hearing
6 o. Actual Innovence
p. Abuse of Discretion by Lower Courts
7
8 Result: Denied “w/o hearing Date of Result: 07/27/2007
9 Il. Name of Court: Calif. Appells Court, lst Dist.
10 Type of Proceeding: Habeas Corpus _
dM _ Grounds raised (Be brief but specific):
12 Same as stated above and being raised. herein.
13 : a. :
14 Result; Denied w/o hearing | _Date of Result._ 03/13/2008
~* 7 ne
15 Ill. Name of Court: __ Supreme Court of Califoria
- 16 Type of Proceeding: _Haheas Corpus
17 _-Grounds raised (Be brief but specific): -
18 a Same as stated above and being raised herein.
19 Result: __ _ Date of Result:
20,
21
- 22} ———B) -_ Is any petition, appeal or other post-conviction proceeding now pending in any court?
23 oe uO . Yes . -No_x
24 Oo Name and \dcation of court: _. N/A
25 | B. GROUNDS FOR RELIEF
« - 26 State. briefly every reason that you believe you are being confined unlawfully. Give facts to
27-| support cach claim. For example, what legal right or privilege were you denied? What happened?
. 28 | Who made the error? Avoid legal arguments with numerous case citations. Attach extra paper if you
PET. FOR WRIT OF HAB. CORPUS |

 

     

 
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‘need more space. Answer the same questions for each claim.

[Note: You must present ALL your claims in your first federal habeas petition. ‘Subsequent
‘petitions may be dismissed without review on the merits. 28 U. S.C..§§ 2244(b); MoClesker v. Zant,
499 US. 467, MW S. Ct. 1454, 113 L. Ed. 2d 517 (1991).] .

Clairn One: THE GOVERNMENT SUPPRESSED EXULPATORY EVIDENCE IN
. VIOLATION OF BRADY AND ITS PROGENY

Supporting Facts. The government suppressed the fact that Younge

(hearsay witness) and Quartermain (the shooter) were long time
friends and done this same type of crime before, murders & extortiong
That they had a history-of pointing the finger at someone else when
it was to their advantage. This suppression of evidence allowed
Younge to commit perjury, unchallenged. The -only witness (evidence)
that placed the defendant in the alleged conspiracy. (See Memorandum

and Attachments C, E, J, 0O.).

 

Claim Two:
: SUBORNATION OF PERJURY

‘Supporting Facts: -witness Chandler, testified five times that it was a
drug deal, when Ewing was shot and killed, not a conspiracy to kill
Ewing. But, at the defendant's trial she changed her testimony to:
She knew there was going to be a murder and she was paid to be there,
When interviewed by private investigator, she said: "She didn't know
anything until the detectives told her the facts of the case."

(See Memorandum and Attachment C.)

 

PET. FOR WRIT-OF HAB. CORPUS -6a-

   
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2| ~~ Claim Three: WITNESS TAMPERING
4 ;
4] Supporting Facts: Green would have been a defense witness, but San
, 5! Mateo detectives threatened him, after interviewing him. Greene
, would have established that prosecution witness, Younge, was lying,
6 about the defendant being at an alleged conspiracy meeting.
7 (See Memorandum and Attachment H.)
8
9 :
10 Lo . :
i Claim Four: — PERJURY, VOUCHING FOR STATE WITNESSES, AND THE
rm KNOWN USE OF PERJURY BY THE PROSECUTOR
B Supporting Facts: Prosecution witness, Younge,:.committed perjury when.
44 he: testified that he had only known Quartermain (the shooter) since
, 1982. Concealing their long term criminal association. Younge also
15 perjured himself regarding money. FBI agent Langan’ vouched ‘for.
“16 Younge's honesty, knowing :‘Younge was lying. The prosecutor knew of
7 Younge's and Quartermain's: long term assocation. The prosecutor .
18 knew or should have known that Chandler was lying. . (See Memorandum
19 and Attachments A,B,C, D.E, F,-G, M, N, Q, P.).
50 Claim Five: THE PROSECUTOR USED CONFLICTING THEORIES
21
ee ‘Supporting Facts: At defendant's trial the prosecutor would have the
. jury believe that everything Quartermain told Younge was the truth.
23 The jury never got to hear or see Quartermain, they only heard
24° alleged statements given by Quartermain to Younge. Then Younge
25 testified to the alleged herarsay statements, Younge is a perjurer.
, 26 But, at Quartermain's trial, the same prosecutor said that
Quartermain is a liar and lying all the time (See Memorandum and
27 Attachment I.).
28
) PET. FOR WRIT OF HAB. CORPUS

 

 

    
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PET. FOR WRIT OF HAB. CORPUS -6¢-

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Claim Six: THE COURT ERRED WHEN INSTRUCTING THE JURY NEED ONLY FIND
THE DEFENDANT GUILTY BY A PERPONDERANCE OF THE EVIDENCE, BIFURCATION

OF DEFENSE, CONFUSING & CONFLICTING, UNJOINED PERPETRATOR INSTRCUTIONK
Supporting Facts:

The court instructed the jury that they only need find .
find the defendant guilty by a preponderance of the evidence. Court
bifuracted the defense, by requiring the defense to prove that
prosecution witness, Younge, was a coconspirator, and allowed Younge'
uncorroborated hearsay testimony in. Court told the jury that all
coconspirators are guilty of second degree murder. Court told jury

need to determine if Younge coconspirator. Unjoined perpetrator
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Claim Seven: - THE COURT ERRED IN THE ADMISSIBILITY OF HEARSAY
STATEMENTS
. Supporting Facts: The court is required to determine before trial if

coconspirators out-ot-court hearsay statements can be introduced as
evidence. But, in this case, the court allowed hearsay in, then
left it up to the jury to decide if the hearsay should be
corroborated. In fact only the uncorroborated testimny of Younge

placed the defendant into any alleged conspiracy. (See Memoradum).

 

Claim Eight: JUROR MISCONDUCT PREJUDICED THE JURY

‘Supporting Facts: The jury foreman did his own out-side investigations,
interviews, and then brought his findings back to the jurors. Then
if the juror did not agree with him he threated éach of the jurors

with personal bodily harm. (See Memoradum).

 

 
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i 4
21 Claim Nine: THERE 1S INSUFFICIENT EVIDENCE TO CONNECT McINTOSH
- 3 . TO ANY CONSPIRACY TO MURDER EWING
4 . Supporting Facts: The uncorroborated hearsay testimony of prosecution
4d y
. 5 | wintess Younge, is the only evidence that places the defendant in
. any alledged conspiracy. (See Memoradum).
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10 . . .
i Claim Ten: - INEFFEDCLVE ASSISTANCE OF DEFENSE: COUNSEL .
12:
B - Supporting Facts: Defense counsel failed to investigate, or was
14° rendered ineffective by the government's suppression of excupatory
. evidence.
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19 , ; — .
30 Claim . Eleven: INEFFECTIVE ASSISTANCE OF APPELLANT COUNSEL
21 '
2: ‘Supporting Facts: - Appellant counsel failed to taise the issue of
. “guilty by a perponderance of the evidence". A sure winner!
23 .
(See Memoradun, also see Memoradum, section VI.a.).
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| PET. FOR WRIT OF HAB. CORPUS

 

    

 

 
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PET. FOR WRIT OF

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Claim ‘Twelve: | HAD THE SUPPRESSED EVIDENCE BEEN AVAILABLE TO THE

DEFENSE THERE IS A REASONABLE PROBABILITY THAT THE OUTCOME OF THE
TRIAL WOULD HAVE BEEN DIFFERENT
~ Supporting Facts: The newly discovered evidence establish that it was
Younge'and Quartermain who planned to kill Ewing, not the defendant.
That the government suppressed evidence; witness tampering; witness
subornation of perjury. Without the subornation perjuried statementg
without the perjury, there was no crime, in which the defendant

participated. (See Memoradum).

 

Chim Thirteen: CUMULATIVE ERROR

-’ Supporting Facts: The number of errors in this case are numerous, in
the multiples of tens. The petitioner has shown over 22 errors, of
which any one of them should be cause for this conviction to be
reversed. But, when taken in their totality, reveresal is

mandated. (See Memoradum).

 

Claim .Fourteen: NEWLY DISCOVERED EVIDENCE REQUIRES AN EVIDENTARY
HEARING

‘Supporting Facts: Becasue there is question of material fact, which is

not in the record,an evidentiary hearing is required to determine if

the evidence, which was suppressed, and unknow until-this time,

would the outcome of the trial have been different. (See Memoradum).

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Claim Fifteen: ACTUAL INNOCENCE

: Supporting Facts: To establish actual innocence in a conspiracy is
difficult. But, never the less, it is true. The prosecution

witness, Younge, took a few facts, and then fabricated a store,
placing the defendant in the witness's place in the conspiracy.
It was the witness, Younge, who wanted Ewing kill, not the defendant.’

The defendant was totally anaware of any plans to kill anyone, let

alone Ewing. The newly discovered evidence establish this truth.

(See Memoradum).

 

Claim Sixteen: ABUSE OF DISCRETION BY THE LOWER COURTS

-” Supporting Facts: Petitioner is not educated in the law, but it is his.
understanding that the lower courts should have held jan evidentary

hearing, which they failed to-do. (See Memoradum).

 

If any of these grounds was not previously presented to any other court, state briefly which -

‘grounds were not presented and why:

 

 

N/A;

 

 

 

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- List, by name and Citation only, any cases that you think aré close factually to yours so that they.
are an example of the error-you believe occurred in your case. Do not discuss the holding or reasoning
of these cases: |

Brady v Maryland, (1963) 373 U.S. 83
Kyles v Whitley (1995) 514 U.S. 419

and numerous others See Memoradum in Support.

 

Do you have an attomey for this petition? , ' Yes No_x

 

If you do, give the name.and address of your attomey:
N/A

WHEREFORE, petitioner prays that the Court grant petitioner relief to which s/he may be entitled in
this proceeding. I verify under penalty of perjury that the foregoing ‘is true and correct.

Executed on Lek Lb, Pood . fa. é EE Sel .

Date ___ Signature of Petitioner

(Rev. 6/02)

PET. FOR WRIT OF HAB. CORPUS -7-

    

 

 
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DUPLICATE

Court Name: US. District Court, vaca
\ Division: 3

Receipt Husber: 34611829054 :

Cashier ID: sprinka ~ ”

Transaction Date: 82/19/2069

‘Payer Naga: United States 5 Treasury

WRIT OF HABEAS CORPUS”
: For: ronald acintosh- fla an
Amounts . 2 et a J rd

CHECK
Check/Faney Order Hume eo 3029754
. hat Tendered: $3.08 Tati Lias

Total Due: = $5.88
Total Tendered: $5.06
> Change Amty.. . $8.68

 

 

 

 

 

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check or draft has been accepted by

the financial institution on which -

it was drawn. |

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